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Rev. /201



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP


                     Plaintiff
                                                         Civil No.                 19-2173        (CJN)
               vs.
COMMITTEE ON WAYS AND MEANS, UNITED STATES HOUSE        Category E
OF REPRESENTATIVES, ET AL.




                         Defendant




                                     REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on    07/25/2019        from Judge Trevor N. McFadden

to Judge Carl J. Nichols                                by direction of the Calendar Committee.



                                   (Case Not Related)


                                                                  JUDGE ELLEN S. HUVELLE
                                                                  Chair, Calendar and Case
                                                                  Management Committee


cc:           Judge Trevor N. McFadden                               & Courtroom Deputy
              Judge Carl J. Nichols                        & Courtroom Deputy
            Liaison, Calendar and Case Management Committee
